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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


IN RE: PARAGARD IUD                       :   MDL DOCKET NO. 2974
PRODUCTS LIABILITY                        :   1:20-md-02974-LMM
LITIGATION                                :
                                          :
This document relates to:                 :
Cases in the Below Tables                 :

                                      ORDER

        On December 30, 2024, the Court entered an Order directing the plaintiffs

identified at Docket Entry 768-1 to show cause within 14 days of the entry of the

Order why their cases should not be dismissed with prejudice for failure to

comply with the Case Management Orders regarding Plaintiff Fact Sheets. Dkt.

No. [768]. Plaintiffs were warned that a plaintiff’s failure to respond could result

in dismissal of her case.

   I.      Cases Where the Show-Cause Order is Moot

        In the majority of the cases, the deficiencies have been cured, Defendants

had agreed to an extension of time, or the cases have been dismissed. The Order

to Show Cause is therefore MOOT as to those cases:

                        Plaintiff                          Cause No.
                    Aguilar, Martha                      1:21-cv-05180
                     Allen, Brandon                      1:21-cv-04522
                   Ayala, Champagne                      1:22-cv-02876
               Barbecho, Maira Alexander                 1:23-cv-05822
                    Barone, Danielle                     1:23-cv-01666
                   Bennett, Amber M                      1:23-cv-01648
                   Benson, Naomi N                       1:23-cv-01704
                     Berry, Tracy L                      1:23-cv-01713
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                     Bogle, Rebecca                     1:21-cv-04203
                       Botez, Anca                      1:22-cv-00056
                     Bradford, Sonia                    1:23-cv-02405
                   Broedel, Antoinette                  1:21-cv-02922
                    Brooks, Nicole T                    1:23-cv-01707
                    Brown, Ebonee D                     1:21-cv-02920
                     Brown, Virona                      1:24-cv-00039
                    Carson, Nateshia                    1:23-cv-01705
                     Clayton, Tonya                     1:21-cv-03382
                  Copeland, Kathlene P                  1:23-cv-03474
                     Craig, Kristy K                    1:21-cv-03391
                      Cruz, Julieta                     1:22-cv-02213
                  Cunningham, Mariam                    1:21-cv-02725
                     Dawson, Dawn                       1:21-cv-02930
                    Edwards, Lydia L                    1:21-cv-03438
                     Foley, Kerissia                    1:22-cv-00492
                      Fox, Heather                      1:22-cv-00499
                     Gomez, Maria E                     1:21-cv-04907
                    Hada, Katharine                     1:21-cv-02599
                      Haring, Sarah                     1:22-cv-01660
                    Horton, Jennifer                    1:21-cv-02435
                    Jemiolo, Patricia                   1:22-cv-00464
                    Knowles, Krista D                   1:22-cv-02965
                      Lusk, Christi                     1:21-cv-04222
                    Schmehl, Sophie                     1:22-cv-00887
                     Sosa, Magdelyn                     1:22-cv-02614
                     Tjhin Lin, Siska                   1:22-cv-03610
                     White, Marsha                      1:22-cv-01564
                    Williams, Brandi                    1:21-cv-02918
                      Wilson, Traci                     1:21-cv-04061
                  Worthington, Chelsea                  1:21-cv-04033


   II.      Failure to Respond to the Show-Cause Order

         A number of other plaintiffs did not respond to the Order to Show Cause.

Those cases are hereby DISMISSED WITH PREJUDICE for failure to comply

with lawful Orders of the Court:


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                Plaintiff                      Cause No.
              Acosta, Vilma                  1:24-cv-00351
          Bainguel, Kimberly                 1:22-cv-02696
             Barnes, Rianne                  1:21-cv-01700
          Bartram, Stephanie                 1:21-cv-03635
             Bounds, Valerie                 1:22-cv-02537
          Boyd, Erin Victoria                1:22-cv-02679
              Brown, Devin                   1:21-cv-02537
         Burns-Rincon, Tamara                1:22-cv-04757
          Bustamante, Sandra                 1:24-cv-00330
          Cascadden, Lindsey                 1:21-cv-05120
              Child, Alice D                 1:22-cv-04986
         Christiansen, Christina             1:21-cv-00206
              Couce, Maria                   1:22-cv-01243
               Cruz, Erika                   1:21-cv-03425
             Cutts, Hannah                   1:22-cv-04130
            Deleon, Denisse                  1:21-cv-02987
            DeSelms, Carrie                   1:21-cv-00111
              Diehl, Carrie                  1:21-cv-00398
           Dressen, Jennifer                 1:22-cv-04651
             Ebaben, Louisa                  1:21-cv-00399
            Epstein, Lauren                  1:21-cv-03948
        Garrison-Stewart, Sheina             1:22-cv-01028
            Hadley, Whitney                  1:22-cv-01029
           Hartline, Jerrica J.              1:21-cv-04548
            Jedlicka, Camille                1:22-cv-02606
           Jimenez, Yolanda                  1:21-cv-05004
           Johnston, Vanessa                 1:22-cv-00442
              Joyner, Caley                  1:21-cv-01708
              Little, Bettina                1:21-cv-05007
            Little, Cheniqua                 1:21-cv-02693
              Liza, Marissa                  1:21-cv-02686
                Love, Jill                   1:21-cv-04989
             Motter, Georgia                 1:21-cv-04045




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   III.   Incomplete Plaintiff Fact Sheets

      In two cases, the plaintiff’s attorney filed a response to the Order to Show

Cause, but the Plaintiff Fact Sheet remains incomplete. Those cases are

DISMISSED WITHOUT PREJUDICE:

                      Plaintiff                           Cause No.
                   Lenart, Loriann                       1:21-cv-02423
                    Amos, Sarah                          1:21-cv-04199


   IV.    Out-of-Time Notices of Compliance

      Finally, in six cases, Plaintiffs have filed out-of-time notices that they are

now in compliance with the Case Management Orders regarding the Plaintiff Fact

Sheets. Defendants are GRANTED leave to file a response within SEVEN

DAYS of the entry of this Order regarding the lateness and whether they agree

that the Plaintiff Fact Sheets are now in compliance. The Court DEFERS ruling

on those cases until that time.

                      Plaintiff                             Cause No.
                   Abeyta, Erica L                        1:24-cv-00339
                Cunningham, Conjetta                      1:22-cv-00432
                  Del Campo, Jossie                       1:21-cv-00199
                Del Rosario, Stephane                     1:21-cv-01793
                   DeSelms, Carrie                         1:21-cv-00111
                   Dore, Albertine                        1:21-cv-02035


      IT IS SO ORDERED this 24th day of January, 2025.


                                       _____________________________
                                       Leigh Martin May
                                       United States District Judge
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